(WDNC Rev. 01/17) Summons in a Civil Action

UNITED STATES DISTRICT COURT
for the
Western District-of North Carolina

~VOOAT HA Dascee Wireiama

Plaintiff )

v. ) Civil Action No. eZs ZV Silo le = WARE W WZ
DEPARTMENT OF PUBLIC ;
SAT ETK — Sate OF BE KH )
STATE MOUWIAY CatKolL y’

)
Defendant
SUMMONS IN A CIVIL ACTION

TO: (Defendant’s name and address)
CEPAET MENT OF CUElic SAFETY — STATE CE Be- sTav)SN

KieaWwaKk PATROL.
OAD NM. SALISEURY STREET, RALEIGH Nic, Z#IOAAV-UZoy,

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60

days if you are the United States or a United States agency, or an officer or employee of the United States
described in Fed. R. Civ. P. 12(a)(2) or (3) — you must serve on the plaintiff an answer to the attached

complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion
must be served on the plaintiff or plaintiffs attorney, whose name and address are:

WovAT HAW Dagaiet WILE Amse
WS4O OL’ Bivee BCAD
WAYNESVILLE NL, ZEFEC

)

If you fail to respond, judgment by default will bé entered against you for the relief demanded in
the complaint. You also must file your answer or motion with the court. .

Case 1:23-cv-00366-MR-WCM Document1-3 Filed 12/28/23 Page 1 of 12
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(WDNC Rev. 01/17) Summons in a Civil Action
Civil Action No.

was received by me on (date)

PROOF OF SERVICE
(Thts section should not be filed with the court unless required hy Fed. R. Civ. P. 4)

This sammon for (name of individual and title, if any)

I personally served the summons on the defendant at ~

LJ

(place)

on (date) ; or
C] IJeft the summons at the individual’s residence or usual place of abode with (name)

__, a person of suitable age and discretion who
resides there, on (date) , and mailed a copy to the individual’s last
. known address; or
I served the summons on (name of individual) :
who is designated by law to accept service of process on behalf of (name of organization)
on (date) ; or

Cy returned the summons unexecuted because + pr
LI Other (specify):
My fees are $ for travel and $ for services, for a total of
$

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:

Case 1:23-cv-00366-MR-WCM Document1-3 Filed 12/28/23 Page 2 of 12
(WDNC Rev. 01/17) Summons in a Civil Action

UNITED STATES DISTRICT COURT
for the
Western District of North Carolina

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Plaintiff )
y- ) Civil Action No. 4? 23 ¢év SGG@-mMe-
EANDY LL, DeEAed ) ates
)

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)

)
Defendant

SUMMONS IN A CIVIL ACTION

TO: Wefendant’s name and address)

RANDY L. DENTON
SSF STATES WGUUAY 14 Fe
“BUCNSVILLE NC. ZBFIY

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60
days if you are the United States or a United States agency, or an officer or employee of the United States
described in Fed. R. Civ. P. 12(a)(2) or (3) — you must serve on the plaintiff an answer to the attached

complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or inotion
must be served on the plaintiff or plaintiffs attorney, whose name and address are:
Vous aan Danser Wieeiams
USUO OLD EwWee Goan
WAMWESVILLE | Ne. ZEAE

)

“Te. you fail to respond, satlernpstt by defanlt will bé entered against you for the relief demanded in
the complaint. You also must file your answer or motion with the court.

Case 1:23-cv-00366-MR-WCM Document1-3 Filed 12/28/23 Page 3 of 12
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(WDNC Rev. 01/17) Summons in a Civil Action
Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4(1)) ©

This summon for (name of individual and title, if any)

was received by me on (date)

LI I personally served the summons on the defendant at ~

(place)
on (date) i or
C] [left the summons at the indiyidual’s residence or usual place of abode with (name)
, a person of suitable age and discretion who
, and mailed a copy to the individual’s last

resides there, on (date)
. known address; or

Cy I served the summons ou (name of individual)
who is designated by law to accept service of process on behalf of (name of organization)

on (date) : ; or

5 OK

Cy} J returned the summons unexecuted because

I Other (specify):

for travel and $ for services, for a total of

My fees are $
$

I declare onder penalty of perjury that this information is true.

Date: _
, Server’s signature

Printed name and: title

Server’s address

Additional information regarding attempted service, etc:

Case 1:23-cv-00366-MR-WCM Document1-3 Filed 12/28/23 Page 4 of 12
(WDNC Rev. 01/17) Summons in a Civil Action

UNITED STATES DISTRICT COURT
for the
Western District of North Carolina

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Plaintiff )
Vv. ) Civil Action No. \3 ‘2b eV = (2 (2 — prz_— Wom
BSEARNGoN Ss, SMITH ;
) ’
)
)
Defendant
SUMMONS IN A CIVIL ACTION

TO: @Wefendant’s name need address)

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ZAAS Linea cee.ck —onc
CWOE, NC. 2PBAZ(

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60

days if you are the United States or a United States agency, or an officer or employee of the United States
described in Fed. R. Ciy. P. 12(a)(2) or (3) — you must serve on the plaintiff an answer to the attached

complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion
must be served on the plaintiff or plaintiff's attorney, whose name and address are:

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WMZUO OLD RIVER. FORD
WAINESRSVILLE We. Z2IFBS

Ifyou fail to respond, intlombad by default will bé entered against you for the relief demanded in
the complaint. You also must file your answer or motion with the court.

Case 1:23-cv-00366-MR-WCM Document1-3 Filed 12/28/23 Page 5 of 12
(WDNC Rey. 01/17) Summons in a Civil Action

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required hy Fed. R. Civ. P. 4(1))

This summon for (name of individual and title, if any)

was received by me on (date)

y I personally served the summons on the defendant at —

(place)

on (date) 3; or

Cy I left the summons at the individual’s residence or usual place of abode with (name)

__, a person of suitable age and discretion who
resides there, on (date) , and mailed a copy to the individual’s last

. known address; or

C} I served the summons on (name of individual) ,
who is designated by law to accept service of process on behalf of (name of organization)
ou (date) : : ‘or
Ly IT returned the summons unexecuted because ; or

I Other (Specify):

My fees are $ for travel and $ for services, for a total of
$

I declare under penalty of perjury that this information is true.

Date:
, Server’s signature

Printed name and-title

Server’s address

Additional information regarding attempted service, etc:

Case 1:23-cv-00366-MR-WCM Document1-3_ Filed 12/28/23 Page 6 of 12
(WDNC Rev. 01/17) Summons in a Civil Action

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UNITED STATES DISTRICT COURT
for the
Western District of North Carolina

~lon At dan ‘Davier Wire imme

Plaintiff )
Y. ) Civil Action No. () ZZ ev Zyue-mMe—wem
KMAROLD ©, ST. HES :

) a
)
)

Defendant

SUMMONS IN A CIVIL ACTION

TO: Defendant's name ane address)
KHRROLD ©. SUANES
FAFA tuyptees Bove SOAS
CANTON NC, ZEFIe

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60

days if you are the United States or a United States agency, or an officer or employee of the United States
described in Fed. R. Civ. P. 12(a)(2) or (3) — you must serve on the plaintiff an answer to the attached

complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion
must be served on the plaintiff or plaintiff's attorney, whose name and address are:

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ASU0 OLD BIvEt Cord
WEY MESVILLE YC, ZBFEL

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“TE you fail to respond, pica by feat will bé entered against you for the relief vended | in
the complaint. You also must file your answer or motion with the court.

Case 1:23-cv-00366-MR-WCM Document1-3 Filed 12/28/23 Page 7 of 12
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(WDNC Rev. 01/17) Summons in a Civil Action
Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4(1)) °

This summon for (name of individual and title, if any)

Was received by me on (date)

CL} I personally served the summons on the defendant at

(place)
on (date) ; or
CL] I left the summons at the individual’s residence or usual place of abode with (name)
» 4 person of suitable age and discretion who

resides there, on (date) , aud mailed a copy to the individual’s last

. known address; or

Cl) I served the summons on (name of individual)
who is designated by law to accept service of process on behalf of (name of organization)

on (date) 3 or

5 or

Cy IT retarned the summons unexecuted because

Ly Other (specify):

for travel and $ for services, for a total of

My fees are §
$

T declare onder penalty of perjury that this information is true.

Date: _
, Server’s signature

Printed name and: title

Server’s address

Additional information regarding attempted service, etc:

Case 1:23-cv-00366-MR-WCM Document1-3 Filed 12/28/23 Page 8 of 12
(WDNC Rev. 01/17) Summons in a Civil Action

UNITED STATES DISTRICT COURT
for the
Western District of North Carolina

Somecann Dame Wiens

Plaintiff )
V. ) Civil Action No. \; 23 2€V S66-pwe-wWem
AARON C,. AMMO < ;

) ’

)

)
Defendant

SUMMONS IN A CIVIL ACTION

TO: (Defendant's name and address)

ARRON C.AMMONS

Ze SWOKY cove Sone
WALTTLER eC, ZeAseey

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60
days if you are the United States or a United States agency, or an officer or employee of the United States
described in Fed. R. Civ. P. 12(a)(2) or (3) — you must serve on the plaintiff an answer to the attached

complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion
must be served on the plaintiff or plaintiffs attorney, whose name and address are:

Meovatuan Dancer Wirriame
USAO COLO RAIVER KOVAD .
WANN ESYLLVE | No. ZaFSe

)

If you fail to respond, fudenemt by default will bé entered against you for the relief demanded in
the complaint. You also must file your answer or motion with the court.

Case 1:23-cv-00366-MR-WCM Document1-3 Filed 12/28/23 Page 9 of 12
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(WDNC Rev. 01/17) Summons in a Civil Action
Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 41) ))

This summon for (name of individual and title, if any)

was received by me on. (date)

Cy I personally served the summons on the defendant at ~

(place)
on (date) 3 or
Cy I left the summons at the individual’s residence or usual place of abode with (name)
, 4 person of suitable age and discretion who
, aud mailed a copy to the individual’s last

resides there, on (date)
. known address; or

C] I served the summons ou (name of individual) 5
who is designated by law to accept service of paocess on behalf of (name of ea
ou (date) 5 or
Ly I returned the simmons unexecuted because 3 or

O Other (specify):

for travel and $ for services, for a total of

My fees are $
$

I declare under penalty of perjury that this information is true.

Date: _
Server’s signature

Printed name and. title

Server’s address

Additional information regarding attempted service, etc:

Case 1:23-cv-00366-MR-WCM Document1-3_ Filed 12/28/23 Page 10of12 ©
(WDNC Rev. 01/17) Summons in a Civil Action

UNITED STATES DISTRICT COURT
for the
Western District of North Carolina

SOMATA Caan \eu Wirevnns

Plaintiff )
v- ) Civil Action No. |? 23 CNS SGG6-MEe- Wem
CHEISTCEHER W Zook ;

),

)

)
Defendant

SUMMONS IN A CIVIL ACTION

TO: Defendant's name and address)
CrHEALSt © Cw erm wd cook,
“ZZO SMOKEFORS KOKD
“MURS Ne. ZEIO’

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60
days if you are the United States or a United States agency, or aun officer or employee of the United States
described in Fed. R. Ciy. P. 12(a)(2) or (3) — you must serve on the plaintiff an answer to the attached

complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion
must be served ou the plaintiff or plaintiff's attorney, whose name and address are:
Mowat ean Dancer Wlrerniame
VEND OLS AWE COAD
WAXNESVILLE, Bue. ZEAE

“Ifyou fail to respond, judoment by default will bé entered against you for the relief temmamety in
the complaint. You also must file your answer or motion with the court.

Case 1:23-cv-00366-MR-WCM Document1-3 Filed 12/28/23 Page 11 of 12
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(WDNC Rev. 01/17) Summons in a Civil Action
Civil Action No.
PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4(2)) ©

This summon for (name of individual and title, if any)

was received by me on (date)

Q I personally served the summons on the defendant at -

(place)
on (date) ; or
Cy I left the summous at the individual’s residence or usual place of abode with (name)
__, a person of suitable age and discretion who
, and mailed a copy to the individual’s last

resides there, on (date)
. known address; or

Cl] I served the summons on (name of individual)
who is designated by law to accept service of process on behalf of (name of organization)

on (date) ‘ : 3 or

3 or

L} I returned the summons unexecuted because

Ly Other (specify):

for travel and $ for services, for a total of

My fees are $
$

I declare under penalty of perjury that this information is true.

Date: _
Server’s signature

Printed name and: title

Server’s address

Additional information regarding attempted service, etc:

Case 1:23-cv-00366-MR-WCM Document1-3 Filed 12/28/23 Page 12 of 12 ©
